           Case 2:11-cr-00116-LRS            ECF No. 152                filed 12/13/11              PageID.295 Page 1 of 1
O PS 8
(12/04)


                              UNITED STATES DISTRICT COURT
                                                                 «16988»
                                                                      for
                                             Eastern District of Washington


 U.S.A. vs.                 Brande S. Garabedian                                      Docket No.               2:11CR00116-004


                                Petition for Action on Conditions of Pretrial Release

         COMES NOW Erik Carlson, pretrial services officer, presenting an official report upon the conduct of defendant
Brande S. Garabedian, who was placed under pretrial release supervision by the Honorable James P. Hutton, sitting in the
court at Spokane, Washington, on the 22nd day of July 2011, under the following conditions:

Condition #21: Refrain from use or unlawful possession of a narcotic drug or other controlled substances as defined in 21
U.S.C. § 802, unless prescribed by a licensed medical practitioner.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                    (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant provided a urine sample with a positive result for methamphetamine.

                            PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                                         I declare under penalty of perjury that
                                                                                         the foregoing is true and correct.
                                                                                         Executed on:        12/12/2011
                                                                                by       s/Erik Carlson
                                                                                         Erik Carlson
                                                                                         U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ X]     The Issuance of a Summons
 [ ]      Other
                                                                                             S/ CYNTHIA IMBROGNO

                                                                                            Signature of Judicial Officer
                                                                                                12/13/11
                                                                                            Date
